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                   IN THE UNITED STATES DISTRICT COURT
                     FOR SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


COUNTY OF HARRIS, TEXAS,

                    Plaintiff,
                                        Civil Action No. 4:19-cv-04994
v.

ELI LILLY AND COMPANY et al.,

                    Defendants.




       DEFENDANT OPTUMRX, INC.’S RULE 12(b)(6) MOTION TO DISMISS
            HARRIS COUNTY’S FOURTH AMENDED COMPLAINT
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                              SUMMARY OF THE ARGUMENT

       The Fourth Amended Complaint undermines Harris County’s claims against OptumRx.

While injecting an array of new allegations against other defendants, the County has deleted key

factual allegations that this Court previously held supported the County’s claims against OptumRx.

With those allegations gone, the County’s claims against OptumRx collapse and should be

dismissed.

       In its First, Second, and Third Amended Complaints, the County alleged that (i) it directly

paid OptumRx for insulin products (Dkt. 20 ¶ 302; Dkt. 68 ¶ 302; Dkt. 110 ¶ 301), (ii) it adopted

an OptumRx formulary offering (a list of covered drugs) for its health plan (Dkt. 20 ¶ 301; Dkt.

68 ¶ 301; Dkt. 110 ¶ 300), and (iii) OptumRx contracted with the County for PBM services (Dkt.

20 ¶ 300; Dkt. 68 ¶ 300; Dkt. 110 ¶ 299). The Court relied on those allegations in denying

OptumRx’s motions to dismiss the County’s earlier complaints. See Dkt. 66.

       In its order denying OptumRx’s first motion to dismiss, for instance, the Court recognized

that “only direct purchasers can bring suit” under federal antitrust and RICO laws. Dkt. 66 at 27.

OptumRx and the other defendant pharmacy benefit managers (PBMs) argued that Illinois Brick’s

indirect-purchaser rule barred the County’s claims, but the Court concluded that the County had

alleged “that it pays the PBM Defendants directly for the overcharges of the diabetes medications

at issue in this case.” Id. at 29 (emphasis in Court’s opinion). The Court also relied on the County’s

allegations that “the PBM Defendants sell diabetes medications directly [to Harris County] through

their own mail-order pharmacies.” Id. at 31 (emphasis added). Accordingly, the Court held that

the indirect-purchaser rule did not apply because Harris County alleged that (1) it paid PBMs

“directly for alleged overcharges” and (2) PBMs “supply some of the at-issue drugs directly to

Harris County through the PBM Defendants’ mail-order pharmacies.” Id. at 32.




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       Those allegations no longer appear in the Fourth Amended Complaint—at least not about

OptumRx. Facing the threat of Rule 11 sanctions, the County has withdrawn allegations that it

directly paid OptumRx for insulin (whether in OptumRx’s capacity as a PBM or mail-order

pharmacy) or that it adopted an OptumRx formulary offering. Without a factual allegation that the

County directly paid OptumRx for insulin, the indirect-purchaser rule bars the County’s claims

against OptumRx.

       The County tries to get around that problem by labeling (for the first time) Cigna—an entity

that the County allegedly did contract with—as OptumRx’s co-conspirator. Dkt. 127 ¶ 411. The

County includes that label, without any factual allegations supporting it, in a transparent attempt

to invoke the so-called co-conspirator exception to the indirect-purchaser rule. But there is a

problem: As the County has already conceded, that exception applies only if the supposed co-

conspirator is a named defendant. See Dkt. 48 (County arguing that “[t]he Fifth Circuit refused to

apply the co-conspirator exception to Illinois Brick [in In re Beef Industries Antitrust Litigation,

600 F.2d 1148 (5th Cir. 1979)] because the alleged co-conspirator packers were not named as

defendants”). After two years and five iterations of the Complaint, the County has never named

Cigna as a defendant, so the threadbare allegations about Cigna are irrelevant. They also fail Rule

8’s pleading standard: The County has not pleaded any facts plausibly suggesting that Cigna

conspired with OptumRx or anyone else. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

The County cannot circumvent the indirect-purchaser rule, so this Court should dismiss all of its

claims against OptumRx.

       Beyond that, the County’s claims against OptumRx suffer from other defects now that the

County has withdrawn allegations that the County paid OptumRx for insulin and adopted an

OptumRx formulary offering.




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       RICO. Indirect-purchaser rule aside, the County’s RICO mail-and-wire-fraud predicates

require allegations (and ultimately proof) that OptumRx’s alleged fraudulent statements directly

caused the County’s claimed financial injuries. The County previously alleged that OptumRx’s

purported fraudulent statements caused it to overpay OptumRx. But in its Fourth Amended

Complaint, the County no longer alleges that it paid OptumRx or contracted with OptumRx, so it

is no surprise that the County has not alleged facts (plausible or particularized) about how

OptumRx’s alleged misstatements directly caused its claimed financial injuries. Nor could it. The

County voluntarily withdrew its common-law fraud claim when it purged its allegations against

OptumRx, and it should have done the same with its RICO claims.

       Unjust-enrichment and money-had-and-received. The County’s equitable claims

require, among other things, allegations that the County conferred a direct benefit on OptumRx.

This Court previously found that the County satisfied that direct-benefit requirement by alleging

that it directly paid OptumRx for insulin. With those allegations now gone, there is no basis in the

Fourth Amended Complaint for sustaining the County’s unjust-enrichment and money-had-and-

received claims.

       Deceptive Trade Practices Act. The DTPA requires allegations that the County relied on

a deceptive act that harmed it. But the County no longer alleges that it purchased insulin from

OptumRx, contracted with OptumRx, adopted an OptumRx formulary, or took any specific action

in reliance on anything that OptumRx said or did.

       Civil Conspiracy. Civil conspiracy is a derivative tort, so if the underlying tort claims fail,

so does the conspiracy claim. Because the County’s claims fail across the board, the civil-

conspiracy claim must be dismissed. The conspiracy claim is also implausible and unsupported by

factual allegations.




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                       NATURE AND STAGE OF THE PROCEEDING

        On September 27, 2021, the County filed a Fourth Amended Complaint that eliminates key

allegations against OptumRx: The County no longer alleges that it paid OptumRx directly for

insulin products or that it adopted an OptumRx formulary offering. Dkt. 127. Those changes

undermine the County’s claims against OptumRx, so OptumRx now moves to dismiss the Fourth

Amended Complaint.

                                        BACKGROUND

        Harris County filed this lawsuit in 2019 in state court. Dkt. 1 at App’x 8–97 (Pet.). After

removal to this Court on January 31, 2020, the County filed its First Amended Complaint. Dkt.

20. Back then, the County alleged that “[a]t different periods during the relevant period, Harris

County utilized each PBM Defendant’s [including OptumRx’s] formularies with respect to the at

issue drugs.” Id. ¶ 301. The County also alleged that it made payments directly to each PBM,

including OptumRx. Id. ¶ 302 (“PBM Defendants set the price by which Harris County paid for

the drugs utilized by Harris County’s Beneficiaries, including the at issue diabetes medications.

PBM Defendants [including OptumRx] also received payments made by Harris County for the at

issue diabetes medications . . . .”).

        The PBMs jointly moved to dismiss the County’s First Amended Complaint, arguing that,

among other things, the County was an indirect purchaser that lacked standing to assert its claims

against the PBMs. Dkt. 41 5–9. In response, the County argued that it was a direct purchaser

because “Harris County Pays PBM Defendants for Diabetes Medications and Not Another Party

in the Chain of Distribution.” Dkt. 48 at 13 (Section III.A. heading). The County highlighted its

allegations that “PBM Defendants also receive payments made by Harris County for the at-issue

diabetes medications” (id. at 15) and cited cases in which courts allowed downstream purchasers




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to press claims if the plaintiff’s money “went directly” to the defendant. Id. at 16 (citing Blue Cross

& Blue Shield United of Wis. v. Marshfield Clinic, 65 F.3d 1406, 1414 (7th Cir. 1995)). The County

argued that “[l]ike in [its cited cases], Harris County paid PBM Defendants directly, and thus the

County is permitted to bring its claims regardless of where they are situated within the market.”

Id. at 17.

        After the County made those arguments in its briefing, OptumRx contacted the County in

July and August 2020, asking the County to provide the factual basis for its assertions. Dkt. 123-

2. In an August 31, 2020 email that the County previously filed with this Court, OptumRx

explained that despite redoubling its investigation, it “[had not] uncovered evidence connecting

OptumRx with Harris County’s core allegations,” including that the County had paid OptumRx

for insulin. Id.

        In September 2020, the Court denied the PBMs’ motion to dismiss. Addressing the PBMs’

indirect-purchaser arguments, the Court analyzed the County’s allegations that “Harris County . . .

allegedly pays PBMs to manage the administrative burden of its pharmaceutical program” (Dkt.

66 at 30 (emphasis added)) and that “the PBM Defendants sell diabetes medications directly [to

Harris County] through their own mail-order pharmacies.” Id. at 31 (emphasis added). In rejecting

the PBMs’ indirect-purchaser argument on the pleadings, the Court concluded that “the allegations

that Harris County pays its overcharges directly to the PBM Defendants are dispositive at [the

motion-to-dismiss] stage.” Id. at 31. The Court based its decision in part on the County’s

allegations that it paid each PBM directly for mail-order prescriptions supplied by the PBM. Id. at

32 (crediting allegations that the PBM Defendants “suppl[ied] some of the at-issue drugs directly

to Harris County through the PBM Defendants’ mail-order pharmacies”).




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       The County filed its Second Amended Complaint on October 31, 2020, continuing to allege

that it paid OptumRx directly for insulin and had adopted an OptumRx formulary offering. Dkt.

68 ¶ 301–02.

       On July 27, 2021, the deadline for the County to amend its pleadings, the County filed its

Third Amended Complaint. Dkt. 110. Once again, the County alleged that it paid OptumRx

directly for insulin and adopted an OptumRx formulary. Id. ¶ 300. Given the County’s refusal to

withdraw those allegations, OptumRx served a Rule 11 motion on the County on July 30, 2021.

Dkt. 122-2.

       On August 25, 2021, the County moved for leave to file a Fourth Amended Complaint.

Dkt. 118. In its motion, the County explained that it had revised its allegations against OptumRx

in response to OptumRx’s “Rule 11 threat.” Dkt. 119 at 2. Among other changes in the Fourth

Amended Complaint, the County eliminated allegations that the County paid OptumRx directly

for insulin products or adopted an OptumRx formulary offering.

                                STATEMENT OF THE ISSUES

       1.      Does the bar on indirect-purchaser suits first announced in Illinois Brick foreclose

the County’s claims against OptumRx given that the County no longer alleges that it paid

OptumRx directly for insulin?

       2.      Should the Court dismiss the County’s RICO claims against OptumRx because the

County has not alleged particularized facts that OptumRx made a fraudulent statement that directly

caused the County’s claimed financial injury?

       3.      Should the Court dismiss the County’s unjust-enrichment and money-had-and-

received claims because, without an allegation that the County paid OptumRx, the County fails to

allege that OptumRx unlawfully retained a benefit that the County conferred on it?




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        4.      Should the Court dismiss the County’s DTPA claim against OptumRx because the

County failed to plead facts that OptumRx committed an underlying fraud that the County relied

on to its harm (and even withdrew its fraud claim against OptumRx)?

        5.      Should the Court dismiss the civil conspiracy claim against OptumRx because the

County failed to allege an underlying tort?

                                        LEGAL STANDARD

        To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Twombly, 550 U.S. at 570). The allegations “must be enough to raise a

right to relief above the speculative level.” Twombly, 550 U.S. at 555. “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal,

556 U.S. at 678. In a case alleging conspiracy, the “need at the pleading stage for allegations

plausibly suggesting (not merely consistent with) agreement reflects the threshold requirement of

Rule 8(a)(2) that the ‘plain statement’ possess enough heft ‘to sho[w] that the pleader is entitled

to relief.’” Twombly, 550 U.S. at 557 (quoting Rule 8).

        The County’s fraud-based claims (including its RICO claims) must also satisfy Rule 9(b)’s

heightened pleading standard. The County must allege with particularity the “time, place, and

contents of the false representations, as well as the identity of the person making the

misrepresentation and what he obtained thereby.” Tel-Phonic Servs., Inc. v. TBS Int’l, Inc., 975

F.2d 1134, 1139 (5th Cir. 1992). The County must also allege causation with particularity. See

Dist. 1199P Health & Welfare Plan v. Janssen, L.P., 784 F. Supp. 2d 508, 530 (D.N.J. 2011).




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                                            ARGUMENT

I.     THE INDIRECT-PURCHASER RULE BARS THE COUNTY’S CLAIMS.

       In its Fourth Amended Complaint, the County excised allegations that it paid OptumRx for

insulin and adopted an OptumRx formulary offering. The Fourth Amended Complaint now

confirms that the County is an indirect purchaser as to OptumRx. Accordingly, the County’s claims

against OptumRx should be dismissed.

       A.      The indirect-purchaser rule applies to the County’s claims against OptumRx.

       As this Court previously held, under Illinois Brick “only direct purchasers can bring suit

against alleged antitrust violators.” Dkt. 66 at 28 (citing Illinois Brick Co. v. Illinois, 431 U.S. 720

(1977)). That rule, this Court held, “applies to RICO claims.” Id. It also applies to the County’s

DTPA and other state-law claims. See Abbott Labs. (Ross Labs. Div.) v. Segura, 907 S.W.2d 503,

504 (Tex. 1995); see also New Prime, Inc. v. Eaton Corp., 2017 WL 5992466, at *3 (W.D. Mo.

Mar. 16, 2017). The County’s Fourth Amended Complaint makes clear that the indirect-purchaser

rule bars the County’s claims against OptumRx.

       OptumRx first raised the indirect-purchaser rule in the PBM Defendants’ first motion to

dismiss. Responding to that argument, the County urged this Court to deny the motion to dismiss

because the County had alleged that it “paid PBM Defendants directly.” Dkt. 41 at 17. In ruling

on the motion, this Court relied on the County’s allegations that it was a direct purchaser. It

credited the County’s allegations that the County “pays PBMs to manage the administrative burden

of its pharmaceutical program” (Dkt. 66 at 30) and that “the PBM Defendants sell diabetes

medications directly [to Harris County] through their own mail-order pharmacies.” Id. at 31. In

the end, the Court held that the indirect-purchaser rule did not apply “[b]ecause Harris County

[had alleged] that 1) it pays the PBM Defendants directly for alleged overcharges and 2) the PBM

Defendants supply some of the at-issue drugs directly to Harris County through the PBM


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Defendants’ mail order pharmacies.” Dkt. 66 at 32. The touchstone was the County’s allegations

that it directly paid each PBM.

       In its Fourth Amended Complaint, the County now alleges that it directly paid only the two

other PBMs—but not OptumRx. See Dkt. 127 ¶ 410 (“In providing these PBM services to Harris

County, Aetna RX and CVS Caremark also received payments for the at-issue drugs and, in turn,

reimbursed the pharmacies that dispensed drugs to Harris County beneficiaries.” (emphasis

added)); id. ¶ 413 (“In providing these services to the [sic] Harris County, Express Scripts and

Cigna Pharmacy Management set the amount the County paid for the at-issue drugs . . . received

payments for the at-issue drugs and, in turn, reimbursed the pharmacies that dispensed the drugs

to Harris County beneficiaries.” (emphasis added)).1 The County has withdrawn those allegations

against OptumRx. Instead, the County alleges only that OptumRx “managed the County’s

pharmacy network, which included processing pharmacy claims for prescriptions dispensed to

Harris County’s Beneficiaries, and operated mail order pharmacies that delivered prescription

drugs to Harris County’s Beneficiaries.” Id. ¶ 411.

       That allegation against OptumRx is insufficient to overcome the indirect-purchaser bar.

That OptumRx allegedly “managed” a pharmacy network and “delivered” drugs to Harris County

beneficiaries (as opposed to the County itself) does not make the County a direct purchaser. The

direct-purchaser analysis focuses on payment. Apple Inc. v. Pepper, 139 S. Ct. 1514, 1522 (2019).

The County does not allege that it ever contracted with OptumRx. And it no longer alleges that it




1
 OptumRx cannot speak to the veracity of those allegations; it uses them only to demonstrate the
deficiencies in the County’s pleadings as to OptumRx.


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directly paid OptumRx.2 Absent an allegation that the County paid OptumRx directly for insulin,

the County does not (and cannot) qualify as a direct purchaser.

        The County previously tried to draw parallels between its earlier allegations and the

allegations in the Supreme Court’s Apple Inc. v. Pepper decision. In Apple, the Supreme Court

held that consumers purchasing apps through Apple’s app store were direct purchasers

notwithstanding that the app developers, not Apple, set the retail price. 139 S. Ct. at 1521–22. The

critical fact, the Court held, was that consumers directly paid Apple and there was no intermediary

in the distribution chain. Id. In earlier briefing, the County argued that “like the app store plaintiffs

in Apple—the County pays the PBMs, and not some other entity in the distribution chain, for the

diabetes medications at issue.” Dkt. 48 at 14. This Court credited that analysis in light of the

allegations in the First Amended Complaint. Dkt. 66 at 31 (“Like in Apple where the Court was

persuaded by the fact that the plaintiff consumers paid the overcharges directly to Apple, the

allegations that Harris County pays its overcharges directly to the PBM Defendants are dispositive

at this stage.”). But that argument now crumbles because, unlike in Apple, the County no longer

alleges that it paid OptumRx directly for the products at issue. If anything, the County’s allegations

are now the inverse of Apple. The County does not allege that OptumRx set the price that the

County paid or received any payment from the County directly. Under “[t]he bright-line rule of

Illinois Brick,” the County cannot maintain claims against OptumRx because the County is “two

or more steps removed” from any payment. Apple, 139 S. Ct. at 1521.

        In its order granting the County leave to file its Fourth Amended Complaint, this Court

pointed back to its statement in its earlier motion-to-dismiss order crediting the County’s allegation



2
 On meet-and-confer calls with OptumRx’s counsel, the County’s counsel has confirmed that the
Fourth Amended Complaint does not allege that the County has ever paid OptumRx directly.


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that the “the PBM Defendants supply some of the at-issue drugs directly to Harris County through

[their] mail-order pharmacies.” Dkt. 126 at 7–8 (quoting Dkt. 66 at 32). OptumRx never

understood that statement to mean that merely delivering a product, without receiving payment

directly from the plaintiff, creates a direct-purchaser relationship. For good reason: There is no

support in the cases for that proposition. In its earlier opinion, this Court did not hold that the

County could be a direct purchaser without allegations that it directly paid each PBM. On the

contrary, the Court reasoned that because the County “allege[d] that it pays the PBM Defendants

directly for the overcharges of the diabetes medications at issue in this case, ‘not an intervening

distributor or other link in the distribution chain,’” the indirect-purchaser rule did not apply. Dkt.

66 at 29.

       Now there is no allegation of a direct payment from the County to OptumRx. At most, the

County alleges that OptumRx shipped prescriptions to beneficiaries, which is not enough to

overcome the indirect-purchaser rule. Compare Dkt. 127 ¶ 411 (alleging that OptumRx “operates

mail order pharmacies that delivered prescription drugs to Harris County’s beneficiaries”), with

id. ¶ 413 (alleging that “Express Scripts and Cigna Pharmacy Management set the amount the

County paid for the at-issue drugs” and “received payments for the at-issue drugs”) (emphasis

added). The County does not allege that the County paid OptumRx directly for any prescription

that OptumRx allegedly delivered to a Harris County beneficiary. See Dkt. 127 ¶ 411. The indirect-

purchaser rule bars the County’s claims.

       The County’s conspiracy allegations have no impact on the indirect-purchaser analysis. In

its substantive RICO claims, the County alleges separate “enterprises” between OptumRx and each

manufacturer (Dkt. 127 ¶¶ 489(3), 553(3), 617(3)) but does not allege facts plausibly suggesting

that OptumRx conspired with the other PBMs. The County does not, for instance, seek to broaden




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those siloed “enterprises” through its RICO conspiracy count. See Dkt. 127 ¶ 679 (alleging that

each defendant “knowingly agreed to facilitate the Insulin Pricing Scheme through their respective

RICO enterprises”) (emphasis added). The indirect-purchaser rule bars all of the County’s claims.

       B.      The co-conspirator exception does not apply.

       Blocked by a straight-forward application of the indirect-purchaser rule, the County has

pivoted to alleging that Cigna’s contractual relationship with OptumRx was a “conspiracy,”

presumably hoping that it can rely on the so-called co-conspirator exception.

       According to the Fourth Amended Complaint, Cigna has contracted with the County and

has been responsible for administering the County’s health plan since 2017. Dkt. 127 ¶¶ 408, 411.

But the County has not sued Cigna. The County cannot invoke the co-conspirator exception to the

indirect-purchaser rule because Cigna is not a defendant. In the Fifth Circuit, the co-conspirator

exception does not apply if the plaintiff has not named the alleged co-conspirator as a defendant.

In re Beef Industry Antitrust Litigation, 600 F.2d 1148, 1163 (5th Cir. 1979) (“Whatever the merits

of the arguments for such an exception in general, we do not think that the reasoning of Illinois

Brick permits recognizing the exception when, as here, the alleged co-conspirator middlemen are

not named as parties defendant” because defendants remain at risk of “overlapping liability.”);

Royal Printing Co. v. Kimberly-Clark Corp., 621 F.2d 323, 328 n.9 (9th Cir. 1980) (“[T]he Fifth

Circuit has ruled that a plaintiff cannot avoid the Illinois Brick rule where the co-conspiring

independent middleman is not named as a party defendant, because the middleman could later sue

the defendant on his own account and subject him to multiple liability.”); see also Winn-Dixie

Stores, Inc. v. E. Mushroom Mktg. Coop., 2021 U.S. Dist. LEXIS 90488, at *24 (E.D. Pa. May 12,

2021) (“[T]o invoke the co-conspirator exception and successfully sue an upstream seller or

manufacturer for an overcharge, a plaintiff in the Third Circuit must name as a defendant the

intermediary co-conspirator from which it purchased the product.”). The County has conceded as


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much, acknowledging that allegations about a non-defendant “co-conspirator” cannot serve as the

basis for applying the co-conspirator exception. Dkt. 48 at 19 (distinguishing In re Beef because

there “[t]he Fifth Circuit refused to apply the co-conspirator exception to Illinois Brick because

the alleged co-conspirator packers were not named as defendants.” (emphasis added)).

       Even if the County had named Cigna as a defendant, the County’s claims would still fail

because the County has not pleaded factual allegations plausibly suggesting that Cigna was a co-

conspirator, much less a co-conspirator with OptumRx. The County asserts a few new Cigna-

related allegations, including alleging a handful of industry meetings (all before Cigna contracted

with the County) that Cigna supposedly attended. Dkt. 127 ¶¶ 299, 301. But even if Cigna

attending some meetings, attending an industry meeting does not give rise to a plausible inference

of conspiracy. See Twombly, 550 U.S. at 567 n.12 (rejecting notion that “belong[ing] to various

trade associations” plausibly suggested conspiracy); In re Online Travel Co. (OTC) Hotel Booking

Antitrust Litig., 997 F. Supp. 2d 526, 541 (N.D. Tex. 2014) (“[T]he fact that defendants’ decision-

makers had ‘[t]he opportunity to meet and conspire’ at trade shows, standing alone, isn’t

suspicious.”); In re Graphics Processing Units Antitrust Litig., 527 F. Supp. 2d 1011, 1023 (N.D.

Cal. 2007) (“Attendance at industry trade shows and events is presumed legitimate and is not a

basis from which to infer a conspiracy, without more.”) (citation omitted). Regardless, the County

does not attempt to connect those allegations to OptumRx. At best, the County alleges that Cigna

contracted with OptumRx or its “predecessor” Catamaran for access to OptumRx’s pharmacy

network and for OptumRx to ship mail-order prescriptions. Dkt. 127 ¶¶ 179, 411. That is nowhere

close to plausibly alleging that OptumRx and Cigna conspired to inflate insulin prices. Twombly,

550 U.S. at 557–58.




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        As to OptumRx, the County is an indirect purchaser, and no exception to the indirect-

purchaser rule applies. Illinois Brick bars all of the County’s claims against OptumRx. Dkt. 66 at

28 (“The court holds that the Illinois Brick Court’s bar on indirect-purchaser suits applies to RICO

claims.”); New Prime, Inc., 2017 WL 5992466, at *3 (courts “overwhelmingly hold that a plaintiff

cannot proceed with state common-law claims, such as unjust enrichment, based on the same

conduct that formed the basis of barred antitrust claims.”); Abbott Labs, 907 S.W.2d at 504 (“We

hold that indirect purchasers cannot recover under the DTPA upon allegations on which recovery

would have been barred if brought under the Texas Free Enterprise and Antitrust Act.”); see also

PBM Def. Mot. to Dismiss, Dkt. 41 at 9.

II.     THE COUNTY’S RICO CLAIMS, WHICH ARE BASED ON ALLEGED MAIL-
        AND WIRE-FRAUD, ALSO FAIL FOR OTHER REASONS.

        The County’s RICO theory also fails for several other independent reasons. Without

allegations that the County had a direct relationship with OptumRx, the County cannot plead 9(b)-

quality facts that OptumRx’s alleged “misrepresentations” were the “but for” or “proximate” cause

of its claimed financial injury. 18 U.S.C. § 1964(c); Holmes v. Sec. Inv. Prot. Corp., 503 U.S. 258,

268 (1992) (RICO plaintiffs must plead and prove that “the defendant’s violation not only was a

‘but for’ cause of [their] injury, but was the proximate cause as well”).

        In its opposition to OptumRx’s original motion to dismiss, the County argued that it had

adequately pleaded fraud and causation by alleging that it was a foreseeable victim of the alleged

scheme. Dkt. 48 at 34–35. When the PBM Defendants argued that Harris County contracted with

insurance companies, not PBMs, the County argued the following:

        The fact that Harris County may have contracted with insurance companies (within
        the same corporate families as PBM Defendants) to manage its overall health
        benefit plan, does not contradict the County’s allegations that the PBMs
        administered Harris County’s pharmacy benefit plan, and in doing so, set the price
        the County paid for diabetes medications and received the County’s payments for
        these drugs. FAC ¶¶ 293–302.


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Dkt. 48 at 35. The County has since retracted those allegations against OptumRx.

       Crediting those now-withdrawn allegations, this Court concluded at that time that the

County had adequately pleaded causation because “the PBM Defendants’ drug formulary lists

were utilized by Harris County to determine pricing for the at-issue medications, and Harris

County was allegedly purposefully overcharged by the PBM Defendants and paid that overcharge

directly to the PBM Defendants.” Dkt. 66 at 23. The Court also ruled that the County’s causation

allegations were sufficient because the County had alleged that it “relied on PBM Defendants’

alleged misrepresentations” that they would “save Harris County money by negotiating on its

behalf for at issue drugs,” that their “formulary lists were created and maintained to promote client

safety and health,” and that the prices the County paid “resulted from competitive market forces.”

Id. at 23–24.

       The County’s changes to the Fourth Amended Complaint remove the factual foundation

for this Court’s previous decision as to OptumRx. Through the Fourth Amended Complaint, the

County recants three factual allegations that this Court previously relied on: There is no longer any

allegation (1) that Harris County adopted an OptumRx formulary offering (id. ¶ 411), (2) that

OptumRx performed rebate-related services for the County (id.), or (3) that Harris County

contracted with or paid OptumRx directly. Id. ¶¶ 410, 411, 413.

       With those concessions, the County’s RICO claim fails for at least two reasons. First, given

that there is no allegation that OptumRx provided formulary- or rebate-related services to the

County or its health plan, there is no factual allegation (whether plausible or particularized) that

OptumRx directly caused the County’s claimed financial injuries. See Anza v. Ideal Steel Supply

Corp., 547 U.S. 451, 461 (2006) (“When a court evaluates a RICO claim for proximate causation,




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the central question it must ask is whether the alleged violation led directly to the plaintiff’s

injuries.”).

        Although the County alleges that OptumRx made representations about the services that it

provided to others, the County no longer alleges that it contracted with OptumRx, adopted any

OptumRx formulary offering, or received rebate-related services from OptumRx. Accordingly,

even taking as true the County’s allegations of misstatements—none of which satisfies Rule 9(b)’s

requirements—the County has not pleaded facts drawing a direct line between OptumRx’s

“misrepresentations” and the County’s claimed financial harms. See Hemi Grp., LLC v. City of

N.Y., 559 U.S. 1, 9–12 (2010).

        Examining each alleged misstatement confirms that the County has failed to plead fraud

and causation with 9(b) particularity. Dist. 1199P Health & Welfare Plan, 784 F. Supp. 2d at 530

(“Plaintiffs’ consumer fraud claim fails to meet the threshold Rule 9(b) pleading requirement for

causation . . . Plaintiffs’ theory of causation in this action is too speculative and attenuated to be

cognizable.”); see also FMC Int’l A.G. v. ABB Lummus Glob., Inc., 2006 WL 213948, at *4 (S.D.

Tex. Jan. 24, 2006) (“In the civil RICO context, Rule 9(b) also requires the plaintiff to allege

specifically how each act of mail or wire fraud furthered the fraudulent scheme, who caused what

to be mailed or wired when, and how the mailing or wiring furthered the fraudulent scheme.”). In

the Court’s earlier opinion, the Court correctly ruled that the County cannot lump the PBM

Defendants together in alleging fraud. Dkt. 66 at 10 n.7. Accordingly, OptumRx will ignore the

alleged misstatements by “PBM Defendants” (see e.g. Dkt. 127 ¶¶ 524, 588, 652) and will focus

instead on the alleged “misrepresentations” attributed by name to OptumRx.

        Alleged In-Person Meeting. The County alleges that “[i]n August 2016, OptumRx

submitted written material to and met in person with to [sic] Harris County and represented that




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the payment it received from drug manufactures and its management of its national formularies

lowered the cost of prescription medications.” Dkt. 127 ¶ 435(d). Even assuming that the allegation

is true, the County does not allege facts explaining how OptumRx’s supposed statement was false

or how it directly caused the County’s claimed financial injuries. The County does not allege, for

instance, that it or anyone else relied on the statement to do or not do anything. The County cannot,

consistent with Rule 11, make those sorts of allegations because the County no longer alleges that

it contracted with OptumRx for any rebate-related services or adopted an OptumRx formulary

offering. On top of that, the alleged statement is from 2016—before the County allegedly

contracted with Cigna and thus before OptumRx allegedly “delivered” any mail-order

prescriptions to Harris County beneficiaries. Id. ¶¶ 411, 435(d). There is no plausible or

particularized factual allegation directly linking the statement to the County’s claimed financial

harms. See Anza., 547 U.S. at 461; Holmes, 503 U.S. at 268.

       Pricing Structure. The County also alleges a 2011 statement that OptumRx “wants [its]

clients to fully understand [its] pricing structure.” Id. ¶ 434. Again, the County does not allege

facts explaining how that statement was false or misleading, but as important, the County does not

allege facts directly connecting that 2011 statement to the County’s claimed financial harm. There

are no factual allegations even trying to link the supposed 2011 statement to the County’s claimed

injuries, and there couldn’t be given the County’s withdrawal of allegations that it contracted with

OptumRx.

       Formulary Allegations. The County includes two allegations that OptumRx’s formulary

offerings “assist customers in achieving a low cost, high-quality pharmacy benefit” (id. ¶ 423) and

“promote lower costs” through “encouraging customers to use drugs that offer improved value”

based on the drug’s “safety, cost, and effectiveness.” Id. ¶ 424. But the County never explains how




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those statements are false and, at any rate, the County no longer alleges that it contracted to receive

those services from OptumRx. Id. ¶ 411 (“During the relevant time period, Harris County did not

utilize any formularies developed by OptumRx.”). The alleged misstatements could not possibly

have directly caused the County’s alleged financial injuries.

       Senate Finance Committee Testimony. The County also alleges that OptumRx’s Chief

Medical Officer testified before Congress that OptumRx “negotiate[s] with brand manufacturers

to obtain significant discounts off list prices on behalf of our customers” (id. ¶ 425) and that

OptumRx did not “see a correlation when rebates raise list prices.” Id. ¶ 429. Again, the County

does not allege facts explaining how those statements are false or directly caused the County’s

supposed financial harms. Nor could it: The County no longer alleges that it had a contractual

relationship with OptumRx, adopted an OptumRx formulary, or received any rebate-related

services from OptumRx.

       Even apart from that, the statements cannot support the County’s claims of mail- or wire-

fraud—for at least two other reasons. First, the alleged congressional testimony did not involve

OptumRx’s use of the mail or a wire. 18 U.S.C. § 1341 (requiring use of the mail); 18 U.S.C. §

1343 (requiring the use of a wire). Second, the Noerr-Pennington doctrine protects any alleged

testimony before Congress such that allegations of congressional testimony cannot form the basis

of the County’s claims. Tuosto v. Philip Morris USA Inc., 2007 U.S. Dist. LEXIS 61669, at *16

(S.D.N.Y. Aug. 21, 2007) (holding that company executives’ congressional testimony

“constitute[d] the type of petitioning that is protected by the Noerr-Pennington doctrine and thus

cannot form the basis of [plaintiff]’s claim of fraud.”).

       The bottom line is that there are no plausible or particularized factual allegations that any

supposed OptumRx misrepresentation directly caused the County’s claimed financial harms. For




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that independent reason, the County’s RICO claims should be dismissed. Because the substantive

RICO counts fail, the separate RICO conspiracy count necessarily fails. See Efron v. Embassy

Suites (Puerto Rico), Inc., 223 F.3d 12, 21 (1st Cir. 2000).

III.     THE COUNTY’S UNJUST-ENRICHMENT AND MONEY-HAD-AND-RECEIVED
         CLAIMS ALSO FAIL.

         The County again asserts two equitable claims seeking recovery based on allegations that

OptumRx was unjustly enriched: money-had-and-received and unjust enrichment. Both claims

require allegations (and ultimately proof) that OptumRx received and improperly retained a benefit

from the County. Davis v. Wells Fargo Bank, N.A., 2014 U.S. Dist. LEXIS 18786, at *9–10 (S.D.

Tex. Feb. 14, 2014); Doss v. Homecomings Fin. Network, Inc., 210 S.W.3d 706, 711 (Tex. App.

2006). The County’s allegations fall short of that requirement.

         Now that the County has removed allegations that it adopted an OptumRx formulary

offering or paid OptumRx for insulin, there are no remaining factual allegations that OptumRx

improperly received a benefit from Harris County. At most, the County alleges that OptumRx of

its “predecessor” Catamaran provided services to Cigna. See Dkt. 127 ¶ 179 (alleging that “[i]n

2013, OptumRx’s predecessor, Catamaran, entered into a contract with Cigna to become Cigna’s

‘exclusive pharmacy benefit partner’ in a strategic 10-year agreement ‘to provide PBM services to

the more than 8 million Cigna clients and members.”). Like in Davis, the County seeks to hold

OptumRx liable for a remote benefit that comes with “market participation,” but the Davis Court

rejected that “unbounded theory of liability.” Id. at *9. There is no plausible factual allegation that

OptumRx received a benefit belonging to the County.

IV.      THE COUNTY HAS NOT ALLEGED A PLAUSIBLE DECEPTIVE TRADE
         PRACTICES ACT CLAIM.

         The County also cannot press a claim under the Texas Deceptive Trade Practices Act

because it no longer alleges that it contracted with OptumRx or purchased insulin from OptumRx.


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To assert a DTPA claim, the County must allege (1) that OptumRx committed a specifically

enumerated false, misleading, or deceptive act, and (2) that the County relied on that act to its

detriment. Tex. Bus. & Com. Code Sec. 17.50(a)(1). The County cannot allege that it relied on any

OptumRx act to its detriment because the County no longer alleges that it had a relationship with

OptumRx, adopted an OptumRx formulary offering, or paid OptumRx for insulin. Dkt. 127 ¶ 411

(“During the relevant time period, Harris County did not utilize any formularies developed by

OptumRx.”); see also Section I.A. That is why the County withdrew its fraud claim against

OptumRx. See Dkt. 118 at 2 (“Plaintiff seeks leave to strike from all prior pleadings the allegation

that Harris County utilized an OptumRx formulary” and “also seeks leave to strike its fraud claim

as to OptumRx”); see also Dkt. 127 at p. 158, Sixth Cause of Action, Common Law Fraud (Against

Eli Lilly, Novo Nordisk, Sanofi, and Express Scripts—but not OptumRx). It should have also

withdrawn its DTPA claim.

V.      THE CIVIL CONSPIRACY CLAIM ALSO FAILS.

        The County’s civil conspiracy claim fails for two reasons. First, civil conspiracy is a

“derivative tort.” Meadows v. Hartford Life Ins. Co., 492 F.3d 634, 640 (5th Cir. 2007). “If a

plaintiff fails to state a separate underlying claim on which the court may grant relief, then a claim

for civil conspiracy necessarily fails.” Id. (citing Tilton v. Marshall, 925 S.W.2d 672, 681 (Tex.

1996)); see also EuroTec Vertical Flight Sols., LLC v. Safran Helicopter Engines S.A.S., 2019 WL

3503240, at *25 (N.D. Tex. Aug. 1, 2019). Because the County’s other claims against OptumRx

fail, its conspiracy claim necessarily fails.

        Second, the County’s civil conspiracy claim fails because there are no plausible factual

allegations that OptumRx participated in a conspiracy. Instead, the County alleges a contractual

arrangement that OptumRx or its “predecessor” Catamaran had with Cigna (the County’s health

plan) under which “OptumRx managed the County’s pharmacy network, which included


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processing pharmacy claims for prescriptions dispensed to Harris County’s Beneficiaries, and

operated mail order pharmacies that delivered prescription drugs to Harris County’s

Beneficiaries.” Dkt. 127 ¶ 411. But even taking those allegations as true, they have nothing to do

with the County’s rebate-related claims and allegations. There are no factual allegations (much

less plausible factual allegations) that OptumRx charged the prices that Harris County paid for

insulin products or conspired with Cigna about those prices. On the contrary, the County has

withdrawn those allegations. Compare Dkt. 127, with Dkt. 110 ¶ 301.

                                         CONCLUSION

       This is the County’s fifth attempt to plead a claim against OptumRx, and it has failed. The

Court should dismiss the County’s Fourth Amended Complaint with prejudice. Morlock, LLC v.

Bank of Am., N.A., 2013 U.S. Dist. LEXIS 131604, at *14–15 (S.D. Tex. Sep. 13, 2013)

(dismissing plaintiff’s claims with prejudice because it was clear that plaintiff’s pleading defects

were incurable).



 Dated: October 18, 2021                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the above and foregoing documents has been served

on October 18, 2021 to all counsel of record who are deemed to have consented to electronic

service via the Court’s CM/ECF system per Local Rules 5.1 and 5.3.




                                                /s/ D. Andrew Hatchett
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